
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT


                                 ____________________


          No. 94-1403


                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  MARK A. FERGUSON,

                                Defendant, Appellant.


                                 ____________________

                   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                        [Hon. Rya Zobel, U.S. District Judge]
                                         ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________
                                Lynch, Circuit Judge,
                                       _____________
                        and Schwarzer,* Senior District Judge.
                                        _____________________


                                 ____________________

               Roderick B. O'Connor, for defendant, appellant Mark A.
               ____________________
          Ferguson.
               Thomas G. Frongillo, Assistant United States Attorney, for
               ___________________
          the United States. 

                                 ____________________

                                    July 20, 1995
                                 ____________________


                              
          ____________________

               *Of  the   Northern  District  of   California,  sitting  by
          designation.

















                      LYNCH, Circuit Judge.  On  June 24, 1993, a federal
                      LYNCH, Circuit Judge.  
                             _____________

            grand jury returned a 38-count indictment  charging appellant

            Mark A.  Ferguson and  twelve others  with violations  of the

            drug   laws.    The  indictment  charged  Ferguson  with  (1)

            conspiracy  to  distribute  cocaine   and  cocaine  base   in

            violation of  21 U.S.C.    846 (Count  2), (2)  possession of

            cocaine with intent to distribute in violation of 21 U.S.C.  

            841(a)(1)  (Count 4);  (3) distribution  of  cocaine base  in

            violation of 21 U.S.C.   841(a)(1) (Counts 7, 8, 14, 17); (4)

            distribution of cocaine in violation of 21 U.S.C.   841(a)(1)

            (Count 11); (5) attempted distribution of heroin in violation

            of 21  U.S.C.    846 (Count 12);  and (6)  unlawful use  of a

            communication facility  in violation  of 21  U.S.C.    843(b)

            (Counts  34, 35,  and 37).   Ferguson  was also  charged with

            aiding and  abetting in violation of 18 U.S.C.    2 on all of

            the  substantive drug counts (Counts 4,  7, 8, 11, 12, 14 and

            17).

                      On December 3, 1993, Ferguson pled guilty to Counts

            2, 7, 8,  11, 12, 14, 17,  34, 35, and  37 of the  indictment

            pursuant to a written plea agreement with the United  States.

            Count 4 was dismissed.  On April  7, 1994, the district court

            sentenced  Ferguson to 120 months imprisonment and five years

            supervised  release on Counts 2, 8, 14,  and 17, to be served

            concurrently;  120 months imprisonment  on Counts 7,  11, and



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            12, to be  served concurrently with one another  and with the

            sentences  for  Counts  2,  8,  14, and  17;  and  48  months

            imprisonment  on  Counts  34,  35,  and  37,  to  be   served

            concurrently  with one  another and  with  the sentences  for

            Counts 2,  8, 14, and  17.   The district court  also ordered

            Ferguson  to  pay a  $500  special assessment,  $50  for each

            count.    On April  12, 1994,  Ferguson appealed,  seeking to

            withdraw his guilty plea.

                      Because  Ferguson  seeks   to  withdraw  his   plea

            following the imposition  of his sentence, he must  show that

            the  plea proceedings were  marred by "'a  fundamental defect

            which   inherently  results  in  a  complete  miscarriage  of

            justice' or  'an omission  inconsistent with the  rudimentary

            demands of  fair procedure.'"   Fed. R.  Crim. P.  32(d) [now

            Rule  32(e)] advisory  committee's  note  to 1983  amendments

            (quoting  Hill v. United  States, 368  U.S. 424  (1962)); see
                      ______________________                          ___

            also United States v. Japa, 994 F.2d 899, 902 (1st Cir. 1993)
            ____ _____________________

            (stating that the  benchmark for setting  aside a plea  post-

            sentencing  is  "a  fundamental defect  or  a  miscarriage of

            justice").  Ferguson's appeal does not meet this standard.

                      Ferguson argues that  his plea should be  set aside

            because the district  court failed to take  adequate steps at

            his plea  hearing  to  determine  that his  guilty  plea  was

            knowingly  and  voluntarily  made.    Specifically,  Ferguson

            contends that  the district  court violated  Federal Rule  of



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            Criminal Procedure 11(c)(1) by failing to explain the charges

            to him and to determine that he understood the charges.  Rule

            11(c)(1)  requires,  among  other  things,  that   the  court

            accepting  the plea "address the defendant personally in open

            court and  inform the defendant  of, and  determine that  the

            defendant understands . . .  (1) the nature of the charges to

            which the plea  is offered . .  . ."   The record shows  that

            Ferguson's  plea neither  was a  miscarriage  of justice  nor

            resulted from  procedures inconsistent  with the  rudimentary

            demands of fair procedure.1

                      The record  of the plea  hearing demonstrates  that

            the district court took a number of steps to ensure that  the

            concerns underlying Rule 11(c) (particularly those underlying

            11(c)(1))  were addressed.  The district court asked Ferguson

            his  age  (25)  and   educational  background  (11th  grade).

            Ferguson informed the court that he had  read the indictment,

            had discussed it with his attorney, and that his attorney had

                                
            ____________________

            1.  Ferguson's  argument on appeal is limited to the question
            of  whether the district  court complied with  Rule 11(c)(1).
            He does  not argue that  the district court failed  to comply
            with the  requirements of  Rule 11(d) when  it failed  to ask
            Ferguson at the plea hearing whether his willingness to plead
            guilty  resulted from discussions  with the attorney  for the
            government.  See Fed. R. Crim. P. 11(d)("The court shall also
                         ___
            inquire  as to whether  the defendant's willingness  to plead
            guilty  or nolo  contendere  results from  prior  discussions
            between the attorney for the government  and the defendant or
            the  defendant's attorney.").   Any  argument  based on  Rule
            11(d), therefore, has  been waived.  See, e.g.,  Pignons S.A.
                                                 ___  ____   ____________
            de Mecanique v. Polaroid Corp., 701 F.2d 1, 3 (1st Cir. 1983)
            ______________________________
            (arguments  not  presented  in initial  brief  on  appeal are
            waived). 

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            explained  to him  what it  meant.   The district  court also

            asked Ferguson whether he understood that he had been charged

            with crimes similar  to the ones that the  district court had

            described   earlier  in  the  hearing  to  Yancy  Calhoun,  a

            codefendant charged under the same counts who pled  guilty at

            the same  hearing.   Ferguson, who had  been present  for the

            description  of the charges  against Calhoun, stated  that he

            did.2

                      Further, during the course of the plea hearing, the

            district  court informed  Ferguson  of  the  charges  in  the

            indictment; it  informed him  of the  potential penalties  he

            faced; it informed  him of the rights he  would be waiving by

            pleading guilty;  it ensured that  the factual basis  of each

            offense was presented  in open court in  Ferguson's presence;

            it repeatedly  asked  him  if he  understood;  and  it  asked

            questions  of Ferguson about each of the substantive offenses

            to   determine  whether  he   understood  what   conduct  the

            government  alleged   formed  the  basis   of  his   criminal

            conduct.3  When Ferguson asked  to be allowed to consult with

                                
            ____________________

            2.  Ferguson  had  also executed  a  written  plea agreement.
            Indeed,  he  had  executed the  agreement  after  refusing to
            execute an earlier one proffered by the government because he
            did not like one of its clauses.

            3.  The district court asked  Ferguson specifically about all
            of the counts to which he was pleading  guilty, except one --
            Count  2, the conspiracy charge.  Although the district court
            did  not ask Ferguson specifically  about Count 2, the nature
            of   the  conspiracy  charge   was  explained  thoroughly  to
            codefendant  Patrick Culbreath  in  Ferguson's presence,  and

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            his mother, he was  permitted to do  so.  Finally, the  court

            specifically  asked Ferguson whether he was entering his plea

            voluntarily and Ferguson replied that he was.

                      On appeal, Ferguson  appears to refer to  only four

            counts,  Counts 8,  12,  14, and  17,  as being  problematic.

            Ferguson  points out that during  the plea hearing, he denied

            some of the factual foundations of these counts and exhibited

            reluctance to admit that he  knew that drugs were involved in

            the transactions underlying those  counts.  To be  sure, some

            of  Ferguson's responses to  the court's questions  about his

            involvement in Counts 8, 12, 14 and 17 show some confusion on

            his part over the precise requirements for the offenses.  But

            when  Ferguson gave such  responses, the district  court made

            additional  inquiries   of  Ferguson,  asking  him   what  he

            understood  his role to have  been in the  offense.  And when

            questioned  on these counts, Ferguson often admitted to facts

            sufficient  to  uphold  the  charges  and, more  importantly,

            exhibited  a basic  understanding of  the  conduct which  the

            government alleged  was  criminal.4    The  court's  detailed

                                
            ____________________

            Ferguson does not  claim on appeal that such  a procedure was
            inadequate to apprise him of the nature of that charge.

            4.  Count 8  was based on a July 16, 1992 drug transaction at
            the  Brigham and  Women's  Hospital  at  which  Ferguson  was
            present.  Although  at first Ferguson  denied knowing that  a
            drug  sale was occurring,  upon further questioning  from the
            court,   he  admitted  to  the  court  that  he  entered  the
            undercover  officer's vehicle and  told him that  the persons
            delivering the cocaine would "be  there."  Count 12 was based
            on a September  15, 1992 attempted sale of heroin  at the New

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            inquiry on these counts supports the conclusion that Ferguson

            understood the  nature of  the charges  against him  on these

            counts.  See United States  v. Pellerito, 878 F.2d 1535, 1542
                     ___ ___________________________

            (1st  Cir.  1989)  (a  searching   Rule  11  inquiry  was  "a

            circumstance of some importance" in showing that the district

            court properly determined that  the defendant understood  the

            nature of the charges to which he was pleading guilty).

                      Indeed, Ferguson's claim that he did not understand

            the  nature  of these  charges is  seriously undercut  by his

            clear admission at  the plea hearing of his guilt on Count 7,

            a distribution  charge under  21 U.S.C.    841(a)(1)  arising

            from a  transaction in which Ferguson delivered  cocaine to a


                                
            ____________________

            England Medical Center.   As  to this  count, the  government
            stated that Ferguson  had delivered to an  undercover officer
            three bricks of what was supposed to have been heroin and was
            later  determined to be procaine,  a cutting agent.  Although
            Ferguson initially denied his involvement in the transaction,
            Ferguson  eventually  agreed   with  the  government   as  to
            everything  it  stated regarding  the transaction  during the
            plea hearing except its claim that he had been the person who
            physically  delivered the bricks  to the  undercover officer.
            He admitted being  involved in  the transaction  and that  he
            believed  at the  time  of the  transaction that  it involved
            drugs.
                      Count  14  involved   an  October  29,   1992  drug
            transaction at a Farmer's Market on River Street in Boston at
            which  Ferguson   was  present.    Again,  although  Ferguson
            initially  indicated  that   he  was  unaware  that   a  drug
            transaction was occurring when he was at the Farmer's Market,
            he later stated that  while he was at the Farmer's Market lot
            in his car he "surmised" that the transaction involved drugs.
                      Finally,  Count 17 involved a February 4, 1993 drug
            transaction  at a Mobil gas station in Mattapan that Ferguson
            aided.   As Ferguson notes  in his brief,  he admitted at the
            plea hearing to delivering a message to one of the principals
            that the transaction would go forward on a certain date.

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            co-conspirator's  house  to  have   it  cooked  into  crack.5

            Ferguson concedes on appeal that  he understood the nature of

            the  charge contained in  Count 7.   Counts 8  and 14, which,

            like Count  7, were each  charges of distribution  of cocaine

            base in violation of 21 U.S.C.   841(a)(1),  involved conduct

            identical in  nature to that  charged in Count 7,  and simply

            involved acts occurring on different dates involving the same

            basic  actions.   Similarly,  Count 12,  while  styled as  an

            "attempt"  because  of   the  chemical  composition  of   the

            substance  distributed, was  also essentially  a distribution

            charge.6     Under  these  circumstances,   Ferguson  "should


                                
            ____________________

            5.  The  government has noted that because of this admission,
            Ferguson's appeal, even if successful, will have no effect on
            his term of imprisonment because Ferguson  was sentenced to a
            concurrent 120 months of imprisonment  on Count 7.  This fact
            does  not mean  that  this  appeal fails  to  present a  live
            controversy,  however.  The  other  counts apparently  impose
            longer periods of supervised release than Count 7 (five years
            for Counts  2, 8, 14, and 17, as  compared to three years for
            Count  7)  and  each  count  increased  the  amount  of   the
            assessment  ($50 per  count).   Moreover,  Ferguson may  face
            collateral consequences for his convictions on the additional
            counts.  Cf. Benton v.  Maryland, 395 U.S. 784, 787-91 (1969)
                     ___ ___________________
            (the  existence   of  concurrent  sentences   does  not   bar
            consideration of  challenges to multiple  convictions because
            there  may  be   collateral  consequences  to   the  multiple
            convictions).  Thus, there is  enough at stake in this appeal
            to have us decide whether Ferguson may  properly withdraw his
            plea as to the other counts.       

            6.  Ferguson's  involvement in Count  17 was presented  on an
            aiding and abetting  theory.  Whether  or not Ferguson  fully
            understood the subtleties of aiding and abetting law,  at the
            hearing he  acknowledged a  basic understanding  that he  was
            being  charged with facilitating  the offense when  he stated
            that he told the undercover officer that the drug transaction
            of February 4 was "on" for that night.     

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            reasonably have .  . . understood,"  United  States v. Cotal-
                                                 ________________________

            Crespo,  47 F.3d  1, 4  (1st Cir.  1995), the  nature  of the
            ______

            charges to which he was pleading guilty on  Counts 8, 12, and

            14. 

                      Although  the  defendant's   understanding  of  the

            nature of  the charges to  which he  is pleading  is a  "core

            concern" of Rule 11, see  Cotal-Crespo, 47 F.3d at 4,  in the
                                 ___  ____________

            absence of a total failure  to address this concern, the plea

            cannot be set  aside unless  the irregularities  in the  plea

            proceeding affect the defendant's "substantial rights."  Fed.

            R. Crim. P. 11(h) ("Any variance from the procedures required

            by this  rule which does not affect  substantial rights shall

            be  disregarded.").   Ferguson has  not  articulated how  the

            district court's  plea proceedings  affected his  substantial

            rights.  He does  not argue that he pled guilty  to crimes he

            did not commit.  He did not object to the presentence report,

            which established a  factual basis for the plea.   Cf. United
                                                               ___ ______

            States v. Zorrilla, 982 F.2d 28, 30 (1st Cir. 1992) (district
            __________________

            court's failure to  determine factual basis for the  plea was

            harmless  error under Rule 11(h) where the presentence report

            and probable cause hearing  revealed that appellant's conduct

            satisfied the elements  of the crime charged),  cert. denied,
                                                            ____________

            113 S. Ct. 1665  (1993).  Nor  does Ferguson suggest that  if

            the   court  had  conducted   a  further  inquiry   into  his

            understanding of the nature of the offense, he would not have



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            pled guilty.  See  id. at 31  ("As appellant has suffered  no
                          ___  ___

            concrete prejudice other than entering a plea he now regrets,

            we cannot set his plea aside."). 

                      Given  that Ferguson  has  not shown  a  sufficient

            deviation  from the  Rule 11  requirements  to overcome  Rule

            11(h),  it follows that he has  not met his burden under Rule

            32(e)  of showing  a  "'fundamental  defect which  inherently

            results in a complete miscarriage of justice' or 'an omission

            inconsistent   with   the   rudimentary   demands   of   fair

            procedure.'"   Fed.  R.  Crim.  P.  32(d)  [now  Rule  32(e)]

            advisory committee notes to 1983 amendments.  Ferguson is not

            entitled to withdraw his guilty plea.

                      For the  foregoing reasons, Ferguson's  judgment of

            conviction is affirmed.
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